SAO 245B. (Re 9'G9) Judgment in a Crinimal Case !.!
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MICROFILM UNITED STATES DISTRICT COURT: 7) i>

ULT 20 9999 District of ~ CONNECTICUT
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UNITED STATES OF AMERICA JUDGMENT IN A CMe ledge!
V. (For Offenses Committed On or After November 1, 1987)
tre : .
KEVIN DERN Case Number: 3Q8CR2t0 (AHN OG?

Joseph Martini, Esq.

Defendant’s Attorney

THE DEFENDANT:
X = pleaded guilty to count(s) One of the Information

[J pieaded nolo contendere to count(s)

which was accepted by the court.
[ was found guilty on count(s)

after a plea of not guilty.
Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18:4 Misprison of a Felony 3/8/02 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
CL] The defendant has been found not guilty on count(s)
[ Count(s) LC is [} are dismissed on the motion of the United States.

FT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s economic
circumstances,

Defendant’s Soc. Sec. No: 496-86-717] October 21. 2002

Date of Imposition of Judgment
Defendant’s Date of Birth: 5/4/71

Hefondant’s USM No,: 14775-014 CE - Ty Mosse

Signature of Judicial Officer
hrondant’s Residence Address:

2368 Jotn Hancock Court

Bensalem, Pennsylvania 19920 Alan H, Nevas, U.S.D.J.

Name and Title of Judicial Officer

October 21, 2002

Date
Defendant’s Mailing Address:

Same

AO 245B  . (Rev1Gi00) FodpeentGn Ociiminal-Case
Sheet 2 — Imprisonment
Judgment — Page 2 of
DEFENDANT: KEVIN DERN

CASE NUMBER: 3-02-CR-210 (AHN)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of 10 MONTHS

The court makes the following recommendations to the Bureau of Prisons:
The court recommends the defendant be placed at the low level prison camp at Ailenwood, Pennsylvania.

The defendant is remanded to the custody of the United States Marshal.

The defendant shail surrender to the United States Marshal for this district:
Cc] at Oam QO pm on
LC} as notifted by the United States Marshal,

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

x before 2 p.m.on November 1, 2002

L] as notified by the United States Marshal.

L] as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

, with a certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL

AO 245B (Rev. 9/00) Judgment ina Criminal Case __
Sheet 3 — Supervised Release

Judgment—Page 3 of 6
DEFENDANT: KEVIN DERN
CASE NUMBER: 3:02-CR-210 (AHN)
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a ONE YEAR

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter.

[] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse.

LJ) The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shail not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month,

3} the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities: .

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any persor convicted of
a felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer,

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer,

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

record or personal history or characteristics and shall permit the probation officer 1o make such notifications and to confirm the
defendant's compliance with such notification requirement.

AO245B (Rev. 9/00) Judgment in a Criminal Cas...’
Sheet 3 — Continued 2 — Supervised Release

Judgment— Page 4 of 6

DEFENDANT: KEVIN DERN
CASE NUMBER: 3:02-CR-210 (AHN)

SPECIAL CONDITIONS OF SUPERVISION

\.) The defendant shall participate in a mental health counseling program, which shall include sex offender treatment with a
therapist who is licensed and experienced in the treatment of individuals with sexual disorders, either inpatient or outpatient, as
approved by the probation officer. The defendant shall pay all, or a portion of the cost associated with treatment, based on his
ability to pay, in an amount to be determined by the probation officer.

2.) The defendant shall provide the probation officer with access to any requested financial records including, but not limited
to, telephone bills, cable and Internet service provider records and credit card statements.

3.) The defendant shall not engage in sexual contact or activity with anyone under 18 years of age. The defendant shall not
have deliberate contact with any child under 18 years of age without the consent of one of the child’s parents. The defendant
must report all incidental contact with children to the probation and treatment provider.

4.) The defendant shall permit the probation officer, accompanied by either local, state, or federal law enforcement authorities,
to conduct a search of the defendant’s residence, automobile and workplace for the presence of any sexually explicit material of

an unlawful nature,

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AO 245B | (RevoR1) Judgment a a OnimifalCase
"Sheet 5, Part A — Criminal Monetary Pe s

" Judgment — Page 5 of 6

DEFENDANT: KEVIN DERN
CASE NUMBER: 3:02-CR-210 (AHN)
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 5, Part B.

Assessment Fine Restitution
TOTALS $ 100.00 $ $

[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

() The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
in full prior to the United States receiving payment.

Priority Order
*Total Amount of or Percentage
Name of Payee Amount of Loss Restitution Ordered of Payment
TOTALS $ $
[| If applicable, restitution amount ordered pursuant to plea apreement *
Lj ‘he defendant shall pay interest on any fine or restitution of more tii: .=,500, unless the fine or restitution is paid in full before the

fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612). All of the payment options on Sheet 5, Part B may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[) The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
[J the interest requirement is waived forthe ] fine and/or ©] restitution.

C1 the interest requirement forthe [] fine and/or (1) restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or afier September 13, 1994 but before April 23, 1996.

AO 245B (Re 2400) Jodgmnéntin aC AiiiehCasé
\ ‘Sheet 5, Part B — Criminal Monetary Pe: $

Judgment — Page 6 of 6

DEFENDANT: KEVIN DERN
CASE NUMBER: 3:02-CR-210 (AHN)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A X Lump sum payment of $ 100.00 due immediately, balance due

[) not iater than , or
[] inaccordance with [] C, © Dor C] E below; or

[] Payment to begin immediately (may be combined with LIC, CLC] D,or [] E below); or

[] Payment in (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of
(¢.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D ([ Payment in {¢.g., equal, weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from Imprisonment to a
term of supervision; or

E [2 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of imprisonment, payment
of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise directed
by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(J Joint and Several

Defendant Name, Case Number, and Joint and Several Amount: an fle. Date << -/7 -oY

CL] The defendant shall pay the cost of prosecution,

C) The defendant shal! pay the following court cost{s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.

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